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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 State of Minnesota by its Attorney
 General, Keith Ellison,                           Case No.: 0:22-cv-02694-JRT-JFD
               Plaintiff,
                                               STATE OF MINNESOTA’S MOTION
        v.                                      TO COMPEL DISCOVERY FROM
                                                       DEFENDANTS
 Fleet Farm LLC, Fleet Farm Group
 LLC, and Fleet Farm Wholesale
 Supply Co. LLC,
               Defendants.

       Pursuant to Rule 37(a) of the Federal Rules of Civil Procedure and District of

Minnesota Local Rule 7.1, the State of Minnesota by its Attorney General, Keith Ellison

(the “State”), hereby moves this Court to compel discovery from Defendants. This Motion

is based on all the files, records, and proceedings in this case, as well as the accompanying

Memorandum of Law and supporting documents to be filed in accordance with District of

Minnesota Local Rule 7.1(b).
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Dated: January 30, 2024               Respectfully submitted,

                                      STATE OF MINNESOTA

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